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 5                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 6
                                       AT TACOMA
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 8
     UNITED STATES OF AMERICA,                            No. CR11-5408RJB
 9
                            Plaintiff
10                                                        ORDER DENYING GOVERNMENT’S
                      v.
11                                                        MOTION TO CONDUCT DISCOVERY
     ALEXANDER WALLS                                      PURSUANT TO FEDERAL RULE OF
12                                                        CRIMINAL PROCEDURE 32.2
                            Defendant,
13
     and
14
     BARBARA JOHNSON,
15
                            Third Party
16                          Claimant/Petitioner.
17
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19         This matter having come before the Court on the Motion of the United States
20 requesting this Court for authorization to conduct discovery, and the Court having
21 considered the representations of counsel and the files and records herein, it is hereby
22         ORDERED that Plaintiff’s Motion (Dkt. 304) is DENIED. With the hearing set
23 for October 25, 2013, the motion is not timely. Furthermore, Plaintiff will have the
24 opportunity to question Ms. Johnson at said hearing.
25         DATED this 22nd day of October, 2013.
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27
28
                                         A
                                         ROBERT J. BRYAN
                                         United States District Judge


     ORDER DENYING MOTION TO CONDUCT DISCOVERY
